Case 1:14-cv-02887-JLK-MEH Document 120 Filed 02/16/18 USDC Colorado Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 14-cv-02887-JLK-MEH

  ALEJANDRO MENOCAL,
  MARCOS BRAMBILA,
  GRISEL XAHUENTITLA,
  HUGO HERNANDEZ,
  LOURDES ARGUETA,
  JESUS GAYTAN,
  OLGA ALEXAKLINA,
  DAGOBERTO VIZGUERRA, and
  DEMETRIO VALEGRA, on their own behalf and on behalf of all others similarly situated,

         Plaintiffs,
  v.

  THE GEO GROUP, INC.,

          Defendant.

         ORDER GRANTING UNOPPOSED MOTION FOR WITHDRAWAL OF
                       APPEARANCE (ECF No. 119)

          THIS MATTER comes before the Court on the Unopposed Motion for Withdrawal of

  Appearance of Elizabeth V. Stork (ECF No. 119). After reviewing the motion, the file, and the

  record, it is

          ORDERED that the motion is GRANTED. Elizabeth V. Stork is withdrawn as counsel of

  record for the Plaintiffs in the above-captioned matter. The clerk is directed to remove Elizabeth

  V. Stork from the CM/ECF notification system in connection with this case.

          DATED this 16th day of February, 2018.




                                               JOHN L. KANE
                                               SENIOR U.S. DISTRICT JUDGE
